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 1   ERIN J. RADEKIN
     Attorney at Law - SBN 214964
 2   428 J Street, Suite 350
     Sacramento, California 95814
 3   Telephone: (916) 504-3931
     Facsimile: (916) 447-2988
 4
     Attorney for Defendant
 5   GABRIEL CARACHEO

 6

 7
                          IN THE UNITED STATES DISTRICT COURT
 8
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,               )        2:07-CR-00248-26 WBS
11                                           )
                                Plaintiff,   )
12                                           )        STIPULATION AND [PROPOSED]
     v.                                      )        ORDER TO MODIFY BRIEFING
13                                           )        SCHEDULE
                                             )
14   GABRIEL CARACHEO,                       )
                                             )
15                           Defendant.      )
     __________________________________      )
16
           On January 28, 2016, this Court appointed counsel to represent
17
     defendant, Gabriel Caracheo, in a potential motion to reduce sentence
18
     pursuant to 18 U.S.C. § 3582(c)(2).         CR 1378.   On March 25, 2016, the Court
19
     adopted the parties’ stipulation to modify the briefing schedule pertaining
20
     to such possible motion.     For the reasons stated below, the parties stipulate
21
     and request that the current briefing schedule be vacated and a new briefing
22
     schedule be ordered as follows:
23
           Motion to reduce sentence                         August 18, 2016
24
           Government’s opposition                           September 8, 2016
25
           Defendant’s reply, if any                         September 15, 2016
26
           The basis for the parties’ request to modify the last briefing schedule
27
     was, in part, to await final decision by the Ninth Circuit on the petition
28



               STIPULATION AND [PROPOSED] ORDER TO MODIFY BRIEFING SCHEDULE - 1
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 1   for rehearing en banc granted in United States v. Davis, 776 F.3d 1088 (9th

 2   Cir. 2015).     CR 1389 at 1.   The Ninth Circuit has not yet issued a decision

 3   in Davis.     The parties respectfully submit the Court should await the

 4   resolution of the petition for en banc review in Davis to ascertain the law

 5   to be applied to Mr. Caracheo’s motion for a sentence reduction.

 6            Assistant United States Attorney Jason Hitt has indicated he has no

 7   objection to the proposed modification.

 8            Therefore, the parties respectfully stipulate and request that this

 9   Court modify the briefing schedule as set forth above.

10   Dated: June 8, 2016                             BENJAMIN WAGNER
                                                     United States Attorney
11
                                             By:      /s/ Jason Hitt
12                                                   JASON HITT
                                                     Assistant United States
13

14   Dated: June 8, 2016                             /s/ Erin J. Radekin
                                                     ERIN J. RADEKIN
15                                                   Attorney for Defendant
                                                     GABRIEL CARACHEO
16

17                                           ORDER

18            Pursuant to the unopposed request, and good cause appearing therefor,

19   it is hereby ordered that the briefing schedule relating to defendant’s

20   possible motion to reduce sentence pursuant to § 3582(c)(2) be revised to

21   reflect the following deadlines:

22            Motion to reduce sentence                    August 18, 2016

23            Government’s opposition                      September 8, 2016

24            Defendant’s reply, if any                    September 15, 2016

25   Dated:     June 8, 2016

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27

28



                  STIPULATION AND [PROPOSED] ORDER TO MODIFY BRIEFING SCHEDULE - 2
